 

Case 2:18-po-03215-GBW Document 1 Filed 09/04/18 Page 1 of 2

AO 91 (Rev\ 0|/09) Crirnina| Comp]aint

UNITED STATES DISTRICT COURT

for the
District of New Mexico

 

United States of America )
v. )
) Case No: \%P°B=~\g
Gurbhej sINGH §
)
Defendant(s)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of August 30, 2018 in the county of Dona Ana in the Stgtg _a_nd District of New Mexico, the defendant violated

§ U.S.C. § l§g§(al§ l i(EWl Misd§meangrl, an offense described as follows:

entered and attempted to enter the United States at a time and place other than as designated by Imrnigration OfT`lcers

This criminal complaint is based on these facts:
On Thursday, August 30, 2018, a United States Border Patrol Agent encountered the Defendant in Dona Ana County,
New Mexico. When questioned as to his citizenship the Defendant admitted to being a citizen of India without
authorization to enter or remain in the United States. The Defendant knowingly entered the United States illegally on
Thursday, August 30, 2018, by crossing the U.S./Mexico lntemational Boundary afoot, approximately seven miles east of
the Santa Teresa, New Mexico Port of E,ntry. This area is not a Port of Entry as designated by the Appropriate Authority
of the United States. Thus, the Defendant is present in the United States without admission by an lmmigration Ot`ticer.

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ComManr?§?ignari/zre

Bemardo Hernanclez Agent

Printed name tide

 

Swom to before me and signed in my presence

Date: September 2, 2018

 

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on %mi"e. onnun-i
City and state: Las Cruces, N.M. u-S- MA_G'STRA JUQ_.LE

Pn'nred name and title

 

 

 

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UNITED STATES DISTRICT CoURT

 

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Deferldanr(s)
CRIMINAL COMPLAINT

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,8_ U S. C. §Ezifal(lmdgmmg;), an offense described as follows:

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m Continued on the attached sheet.

 

Complai'narn's signature

Bcrnardo Hema'.ndez Agent
Prinred name and title

 

Swom to before me and signed in my presence.

Date: September 2, 2018

 

 

" L/ ’Judge‘s signature
City and state: Las Cruces, N.M.

 

Prin!ed name and title

 

